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EXHIBIT 2

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..*"L~N-l'?-~l§§"r‘ lES-:»QS FRDT'\ ZJQSTELJQYER N[J“l`f F’?,SC/ERC ?`U ¥'1 PND §

'_ gu§¢'~_u_s;w now sec 14

 

nrc Jm€§

GT§P HSSDCIHTES wm .,-. .._

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PQ$H:“ brand faz irs:lsmi:tal memo 7511 i¢ d mm » §

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“ 156 cwa W,;€¢, MNMJ“

 

 

 

 

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§§ P-' W/JM’

 

 

 

\Tu.n`a 131 1997

Honk&, P¢.B» ‘

miaf, mgine@ringi and Cona’truction

Ds.>.partmen`i: of wastewater gahagath
City and County of manolqu

650 Srau’?~:‘h
Hanc)lul-u ,.

AMENTI<>N
Re :

King Street:
Ha,wai'i 96313

rem 90 cm
Ka'ilua WWTP wis`infer:.tion_ Fa¢-ilihy
Prelimi;mxy Engi~n§e;ring R¢‘_.p'czrt

F.inal Su§§m:,tta-l, imth .3,59? _
demerits by Dr-. Bruc:e H'el}., Ray Hatascl

agd §§ `€t §§ Ha'n`§' field

 

Bear Mr. Honke':

we have reviewed the above~refez:encad report and a£fer the.

following

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ccmments: ~
Radundanoy rssus vith` Al$:mative 'B
ma note that nternate: B~, consisting off only one bank of

bulbs per channel, provides no redundancy tier meeting
even the daily peak flows. we do not thank this is;

acceptable.
He’diizm pressure In..»?ipe Al`ternative
We believe it is imprudent to include the Medium Prr»as$ure

~ In»Pipe Al‘ternative in the final comparison, because, to

date, this technology has bean used primarily :f:`or
arink,ing water applications. ` I~‘or wa$tewatér

applications, many of the project requiremente: are ~

differén`t, egpecially walling and ,el-eam`;img frequency
trhiz's type of equipment does not have the track`:;‘e<`:`c)rd or
process advantage no ne given strong consideration for a
facility the size of Kailua, when other good alternatives
exist ,

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Depc)sition of James Honke, Voiume f, 04/25!2006

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Exhibit 2~"00073

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J ~ _“ , _
. w~é»»--W--»WU. ‘B'M mm WSTE‘*WER HG‘¢T misc/aac m
JUNM-S? von ua:m 619 essocm£§ m \W. __ w HNB a gm

Englnmsl§rch`dems

Hr. James Bonke.. P.'£:. _
imi@ef, mgineering and Constructmn

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LM¥ C€$S‘t$

We continue to believe that the labor required for both
the low- and medium-pressura aptqu have bean grossly
underestimated, `Gu:r: expa:cience indiea:tes that three
minutes gem day fur the medium pressures sys'bsm ls insuf-»
fic;ie:m we do 'az_xgthisuq. Likewi_-se, we do not believe that
the required operation and maintenance can be performed
on the low pressure system in the time allotted-

coat Compariaon. Po.¥a:: arrests

E»Ie'¢ believe that the powm: required at 15 .HGD is in error
for A;lterzz_ative A~-. sl'vhough there are wine a$ many
banks ¢i)f lamps in .Aitarnative 33 than .Mi:ernative B, the
Smae: _m:`m§::er_ of- banks will ha turnl~z<i on in both altern,a-»
times in order to disinfe<;t'. an average flow as 15 mm
Therefbre, the 26 kw estimated for Alternative 78 should
also ba.the estimat¢-£_or Al‘t:e:;r'sa‘cive A.. This, aga£n, will
affect the cost comparison waterman me low and maritim-

pressure unit .

lt is mm understanding power ocaw were calculahed based
on an average {,c:c_:_r:stant') flew of 18 nga and 70 per<:em:
transmitta'nc:ra. ‘I.‘he report suggests the mgdimu*pre$svra
open»~chamel U’V power costs gould be three times higher
than the low-pressure alternative, which is a much
greater difference than would be expected under normal
operating cc)nciitions_. mae low~pr-essure Uv power
requirements woulc‘.! likely b@z highér, because dillrn'al,
flows will exceed 315 qu for a §igriifi'¢ant period af time
during tim day,. requiring operation of one bank in mm
cf the two channe;ls. .'I‘he medium~pressure UV power
requirements would likely be low'ar. because the medium-
prassm:e: system has the ability to.» lawem pawez‘ input at
film:rs_ below 15 mch and transmittance$ higher them the
desa_gn condition. I'n the end, when these faotoz's are
¢cnsx`_,dered, we would not expec:t the med$um pressure power
requirements to be more than 3d to 40 percent mere them
the low-pressure rawil:ements.-

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OPTZ` 00034

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Gi'l? f-`\SSU~’J§H\:;;> ..".

 

 

` Assoctms. mm

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chie£, mqineering and Constmewon

June 13,

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Cbnstruct'iun Co ats

Tne construction cost for the medium-pres$ure $yé.;tam i_s,

according to §I&?. ?acifi-<z, driven to a great extent by the
required depth of the channel.,_ biscussions with mrp-jan
reveal that tim channel depth can be reduced from 12 feet
to 9 fee-m while maintaining the othea: channel

We- expect this would result in a notable

&imens_ions¢ _ _ w
reduction in estimated czapltal ccats*

Trmjan xnfomtion

Trr:>jan inf`cvmea us that the number ¢>£ bin-lbs in tim
current medium _Pzessu):_e design irs 72', rather than mae 34
contained in the report This will have an effect`on. the
coat estimates for items such w bulk and sleeve
r&p§.a¢emenz: disp¢sa'z, ete.

mrs'-»€.*b:$t wasidarat£oms

The report provides some good discussion on “.ncn~';:oss:
fadt'or_s fox the vari»:m§ fm system;. Howeve'r,. this'
informatian was not uswa in the final campaz‘i:mn area
dev§cl;)pment af recommen¢satis>ns, _Th`e samsung vogt
comparison showed little éi`f£a>:encia in cost hetw¢_¢n the
systems. I-n this case, maher non*cost factors siu`g:}} as
redundancy, ease off maintenance, case of Q_ aration,
;<€IL¢&:§¢;F.?;v_$.ll.:‘d:ydr service recon-di et<::., should he g ven mora
weight to help determine the heat alternaT:-i-ve-» P¢rhaps
a tama of non~`cos.‘c factors, along with a vaighting,
cou'ld.` be created to f`acili“l-_Ata comparison bemeen. the

alternatives on a non-c¢st basis,.

anita Layout

h ds_a‘tailed give layout, rather than manufacturas'
drawmgs. would be helpful in our review

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JLN“Z'?”IBS? 151<15 F:;“'€U!"'i NHSTE§).@TER F'UP'§T P$.SC)‘"EB.C TD ¥'¥ IQND §§
§1_::~1~:§~9? HON 03=15 mr pmme » ?"?'5

    

ASMA. mm

anlnee':smm!ems

mm Jamea Honke, P.E.. v
~ chief,_ Bnginaarinq and Conscru<:tlon

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Rq¢umena-¢a system

We are unable w recom;¢zrend a choice at this time between
Altexm.tiive A {1<:¢»: pressure system with two hardie of
lamps per channel`} ana the in-channe'l medium pressure
uni_t_s. 'I`tze costs far the twa systems are essentially
S.`G.enti¢ail. A number of £actors prevent us from making a

recommemdation between the two choices.

wyati,tiv¢ aids

we agree nha§: it would ne desirable to ccmpetitively bid
the law and meai:.;m-prwsure system simultanec>usly, but
we have canderm about the practicality vi wig aPPK‘<`-‘R¢.h:-

Becz_ixi$.e the systems are substantially di:€:erent, it would
ha -'diffic:ult to write a specification that allow$ a fair
comparison of the two saystems- Additi_qnall.y, the zath

ticx_z§a‘l ¢w$t off drawingsng the alternative designs and
bidding them separm:ely may nat be justifiad;. given the
cost d.i£`:€?af\:m_¢e_` .is' zeth <.~~,L:L_bs~:t.'ard;ial,n h inatth approach

may be to decide between the low and medium_»~pzée_ssizr¢

systems at the Preiimina;r“; mqinearinq smage. 3;: the

low-pre$<:»'.ure. sys;l~!:e`m is ahesen, ibid the alKer-nate
manufacturers». `,I-£: the medi-um~pressurc system is -chos¢zn;

negotiate a 3019-source price with ‘£‘rojan_.- we recognize

that there are methods to ensure a fair price.

traumaer me misinracuion

W:». agree with the logic: used to arrive at the affluent
limit cf 100 entero;:occiflooml. for the Kniluez ?lant.

Th:i;s wa:~:.- determined by using the recreational waters

stans§ard of 'f e_nt¢ro¢ocoijlo&ml. and a c:_<_.z»nsa'rvaf:ive

dilution factor of ii 190 for the Mokapu Out-£e:.-.'I;.l. ff only
the Xailua plant discharges through the eutfa-J.l, we

effluent would meet the recreati»:nal waters limits

outside of this zone of mixing. 'l‘hi$ would provide a

powerful éamonstratinn that should high ant-erecch counts

be ohaarved in near shore waters resulting in beach

closur&$, it is mos=“.§: definitely not caused by the Hoka;pu

Ov.“tfall.

GPTZ OUOBB

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_ _ Civil No. 03~80?06
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Exhibit‘ 2~0(}01 6

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JuN-l'r-z?$? ;6=115 FF<’DM wQSTEmQT&R mm P&SE/E,ac m v i'z QND § P.Qe.
.}"\§1~26“37 HON 3333 GHP RS§OC§AT§S PHIS NU. dUL”> eeo same 1-\~1-~

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Engineer§!armaecw

 

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AS‘.`~.`,CCDIES !NC.

Mr. James Hmn]ce,,. P.B-. .
Cnia:?, angineering and construcmon
mma 13, 1997

P-age 5

Ux\f-ort'.unately, as noted in the report, the iranth mine
Bas.e Hawaii plant discharges to the outfall and is not
diginf-ec"céd. Z§s a resul‘§.’., even if the Kai.lua plant were
to discharge zero entercacocci-, effluent from *!h& Ol_l"tfall
would §»_xceeci recreational water atandarc!s gas shawn by H&E
in 'I‘abla d., 'i’h-is will make it more difficult to argue
conclusively that high enterococci levels in near shore
waters are voir due tn dis¢harg€as from the outfall,
'I‘hereff<)re, we recommend that the Cit.-y- explx;z;a the
possibility of having the Kane¢\he plant disin_fection for
at least a portion <;»£ our five:-year demonstration perioci
in order that the effluent meets the recxea?:icmal limit-
W@. are hopeful that this will provi&e *t:l:¢u=;L apportunity for
I)wmx to demonstrate that the outfall is nat cause for
near shore pollution.

Th;e consent decree tasks us vibh providi;qg_ a recommendation as
to whether or not the project proceeds.. we vigil make sworn a renew
mendaf;idn after review of the r`a$z>.c>n$es to our ll cammeant_s,

R&apec;tfully submitted ‘for.~.
Dr:¢ Bmce 33111 ?'wEn
HI¢.. Ray.mond Hata€tfi, P.E_.

!~Ir. me A. Ha'nsfi_ :?B».
£§LAQI§£%HMQ f

  

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TDT§X! P.BF\

 

Ci\rii N<;). 03~00?06 E)<hibit 2-0001?`
Deposition of James Honke, Vo|ume l, 041'25!2006

